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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

 

 

MARSHALL DIVISION
BISCOTTIINC., Civil Action No. 2:13-cv-01015-JRG-RSP
Plaintiff,
Vv.
MICROSOFT CORP.,
Defendant.
VERDICT FORM

In answering the following questions and filling out this Verdict Form, you
are to follow all of the instructions I have given you in the Court’s charge. Your
answer to cach question must be unanimous. Some of the questions contain legal
terms that are defined and explained in detail in the Jury Instructions. Please refer
to the Jury Instructions if you are unsure about the meaning or usage of any legal
term that appears in the questions below. As used herein, “Biscotti” means Plaintiff
Biscotti Inc. As used herein, “Microsoft” means Defendant Microsoft Corporation.

As used herein, “the ’182 patent” means U.S. Patent No. 8,144,182.

 
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QUESTION 1

Did Biscotti prove by a preponderance of the evidence that Microsoft has directly
or indirectly infringed any of the asserted claims of the ’182 patent?

Answer “Yes” or “No” in the space provided.

Answer: Al 0
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ANSWER THE FOLLOWING QUESTION ONLY IF YOU HAVE
ANSWERED YES TO QUESTION 1. OTHERWISE, DO NOT ANSWER THIS
QUESTION,

QUESTION 2

Did Biscotti prove by a preponderance of the evidence that Microsoft willfully
infringed the ’182 patent?

Answer “Yes” or “No” in the space provided.

Answer:

 
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QUESTION 3

Did Microsoft prove by clear and convincing evidence that any of the following
claims of the °182 patent are invalid as anticipated or obvious in view of prior art?

Answer “Yes” or “No” for each listed asserted claim in the space provided

Claim 12: Yes 4 No

Claim 13: Yes 4 No
Claim 23: Yes “ No

‘Claim 27: Yes No

 

Claim 28: Yes No

 

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Claim 35: Yes W~ No

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Claim 86: Yes No
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ANSWER THE FOLLOWING QUESTION ONLY IF YOU HAVE
ANSWERED “YES” TO QUESTION 1 AND “NO” FOR AT LEAST ONE OF
THE CLAIMS SPECIFIED IN QUESTION 3.

QUESTION 4

What sum of money, if any, now paid in cash, has Biscotti proven by a
preponderance of the evidence would fairly and reasonably compensate Biscotti
for damages resulting from Microsofi’s infringement of the ’182 patent through
March 2017? |

Answer in dollars and cents:

Amount: $

 
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Signed: ¢ _
J ry Foreperson

Date: June g , 2017
